               Case 1:17-cv-04179-DLC Document 40 Filed 10/17/17 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------
SECURITIES AND EXCHANGE                                             Case No. 1:17-CV-04179-DLC
COMMISSION,                                 Plaintiff,

           -against-
ALPINE SECURITIES
CORPORATION,                                 Defendant.
---------------------------------------------------------
                                                NOTICE OF CHANGE OF ADDRESS

TO:        ATTORNEY SERVICES CLERK AND ALL OTHER PARTIES


9
✔          I have cases pending                                     9        I have no cases pending

Pursuant to Local Rule 1.3 of this Court, please take notice of the following attorney information change (s) for:


                                   Mark L. Smith
                                 _________________________________________________
                                        FILL IN ATTORNEY NAME

                                                                CA #213829
My SDNY Bar Number is:_________________ My State Bar Number is ______________

I am,
           9           An attorney
           9           A Government Agency attorney
           9✔          A Pro Hac Vice attorney

FIRM INFORMATION (Include full name of firm (OLD AND NEW ), address, telephone number and fax number):

OLD FIRM:              FIRM         SMITH CORRELL, LLP
                              NAME:_______________________________________________
                       FIRM            11766 Wilshire Blvd., #1670, Los Angeles, CA 90025
                              ADDRESS:____________________________________________
                       FIRM                         (213) 443-6222
                              TELEPHONE NUMBER:________________________________
                       FIRM                (877) 730-5910
                              FAX NUMBER:________________________________________

NEW FIRM:              FIRM         SMITH CORRELL, LLP
                              NAME:_______________________________________________
                       FIRM            11601 Wilshire Blvd., #2080, Los Angeles, CA 90025
                              ADDRESS:____________________________________________
                       FIRM                          (213) 443-6222
                              TELEPHONE NUMBER:________________________________
                       FIRM                (877) 730-5910
                              FAX NUMBER:________________________________________


           9
           ✔           I will continue to be counsel of record on the above-entitled case at my new firm/agency.


           9           I am no longer counsel of record on the above-entitled case. An order withdrawing my appearance
                       was entered on ______________ by Judge_________________________.


Dated: 10/17/17                                            s/ Mark L. Smith
                                                           ____________________________
                                                           ATTORNEY’S SIGNATURE
